Case 1:16-cv-01804-PAB-NRN Document 99 Filed 11/19/18 USDC Colorado Page 1 of 8




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Case No. 16-cv-01804-PAB-NRN

  FLAVIE BONDEH BAGOUE; and those similarly situated

         Plaintiffs,

         v.

  DEVELOPMENTAL PATHWAYS, INC.,
  and CONTINUUM OF COLORADO, INC.,

         Defendants.


      MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST CONTINUUM OF
        COLORADO, INC. AS TO PLAINTIFF’S 12-HOUR OVERTIME CLAIM


                                     I.    INTRODUCTION

         Plaintiff Flavie Bagoue worked for Defendant Continuum of Colorado, Inc. (“Continuum")

  in its group homes caring for physically and mentally disabled persons. There, she worked 2.5-day

  shifts, which consisted of 56 consecutive hours of work providing continuous care for the

  residents. For this, Plaintiff was paid for only 40 hours a week, with no overtime compensation,

  because two 8-hour blocks were excluded for purported sleep and because Defendants believed

  they were exempt from Colorado law requiring overtime for hours in excess of 12 in a day.

         An issue clouding this case since its inception is whether Defendants are covered by the

  Colorado Wage Order (“Wage Order”) and thus whether Defendants are legally obligated to

  comply with the Wage Order’s requirements, including paying employees for hours worked in

  excess of 12 in a day. There is no dispute that the 2.5-day shifts worked by Plaintiff required her

                                                  1
Case 1:16-cv-01804-PAB-NRN Document 99 Filed 11/19/18 USDC Colorado Page 2 of 8




  to work more than 12 consecutive hours, and there is no dispute that Plaintiff was not paid overtime

  for her hours worked in excess of 12. Thus, the only question that need be answered for this Court

  to find liability for Continuum1 as to the 12-hour overtime claim is whether Continuum is covered

  by the Wage Order.

         Based on Continuum’s own admissions in its 30(b)(6) deposition, it is undisputedly

  covered under the “Health and Medical” category of the Wage Order and it is therefore

  undisputedly liable for failing to comply with the Wage Order’s 12-hour overtime requirement

  with respect to Plaintiff. Summary judgment as to liability should therefore be entered against

  Continuum for Plaintiff’s 12-hour overtime claim.

                                 II.   STANDARD OF REVIEW

         “[A] party may file a motion for summary judgment at any time until 30 days after the

  close of all discovery.” Fed. R. Civ. P. 56(b). “Summary judgment is proper if the movant

  demonstrates that there is ‘no genuine issue as to any material fact’ and that it is ‘entitled to a

  judgment as a matter of law.’" Thom v. Bristol-Myers Squibb Co., 353 F. 3d 848, 851 (10th Cir.

  2003) (quoting Fed. R. Civ. P. 56(c)). The movant bears the initial burden of establishing the prima

  facie absence of a genuine issue of material fact. Id. (citing Celotex Corp. v. Catrett, 477 U.S. 317,

  322-23 (1986)). “If the movant carries this initial burden, the burden shifts to the nonmovant to go

  beyond the pleadings and ‘set forth specific facts’ that would be admissible in evidence in the

  event of trial from which a rational trier of fact could find for the nonmovant.” Id. (quoting Fed.

  R. Civ. P. 56(e)).


  1
   Plaintiff does not move against the other Defendant, Developmental Pathways, Inc., because
  Plaintiff’s claims against that Defendant potentially implicate disputes of fact regarding that
  Defendant’s status as a joint employer.
                                                    2
Case 1:16-cv-01804-PAB-NRN Document 99 Filed 11/19/18 USDC Colorado Page 3 of 8




                 III.    STATEMENT OF UNDISPUTED MATERIAL FACTS

  1.      Continuum operates group homes for developmentally disabled persons in Colorado. Ex.

  1, Continuum 30(b)(6) at 9:19-10:9.

  2.      Plaintiff was employed by Continuum as a “life skills specialist” from October 2006 to

  June 2016. Ex. 2, Bagoue Dec. ¶ 1.

  3.       Life skills specialists are responsible for providing day-to-day care for the disabled

  residents of Continuum’s facilities. Ex. 1, Continuum 30(b)(6) at 73:5-79:9 (describing duties of

  a life skills specialists).

  4.      Plaintiff frequently worked more than 12 consecutive hours for Continuum Ex. 2, Bagoue

  Dec. ¶¶ 5-7, 11-12; Ex A to Ex. 2.

  5.      Plaintiff was not paid overtime for hours worked in excess of 12 consecutive hours. Ex.

  2, Bagoue Dec. ¶ 12.

  6.      Continuum provides health and medical services to the disabled residents in its group

  homes. Ex. 1, Continuum 30(b)(6) at 38:3 to 38:8 (nurses on staff provide services to residents),

  50:2-51:8 (“Q: …[S]o there is some coordination of care and there is some providing of care? A.

  Correct.”), 75:13-79:14 (listing medical and health services provided by Defendants).

                                       IV.     ARGUMENT

          The Wage Order covers “any business or enterprise engaged in providing medical…or

  other health services including but not limited to medical and dental offices, hospitals, home health

  care, hospice care, nursing homes, and mental health centers, and includes any employee who is

  engaged in the performance of work connected with or incidental to such business or enterprise,

  including office personnel.” 7 C.C.R. § 1103-1(2)(D). And, for covered businesses, the Wage


                                                    3
Case 1:16-cv-01804-PAB-NRN Document 99 Filed 11/19/18 USDC Colorado Page 4 of 8




  Order requires that “employees shall be paid time and one-half of the regular rate of pay for any

  work in excess of: (1) forty (40) hours per workweek; (2) twelve (12) hours per workday, or (3)

  twelve (12) consecutive hours without regard to the starting and ending time of the workday….”

  7 C.C.R. § 1103-1(4).

         In its 30(b)(6), Continuum admits to providing health and medical services to its group

  home residents. Continuum has nurses on staff providing these services:

                  Q. But someone in some of these houses are doing those sort of
                 nurse-like procedures?
                  A. Yes.
                  Q. And are they nurses?
                  A. We do have nurses that assist in those areas.

  Ex. 1, Continuum 30(b)(6) at 38:3 to 38:8.

                 Q. What is the nursing team?
                 A. We have a health services manager and then we have two LPNs
                 and a medical assistant. They oversee and coordinate with the
                 supervisors the medical needs of the individuals in our care.

  Id. 50:2 to 50:6. Continuum also testified to a lengthy list of health and medical services that it

  provides to its residents. Id. at 75:13-79:14 (e.g., inserting suppositories, assisting with physical

  therapy, checking blood pressure, monitoring weight, and monitoring bowel movements).

         It is therefore undisputed that Continuum provides services consistent with the Health and

  Medical Wage Order coverage category. See 7 C.C.R. § 1103-1(2)(D). And because it is also

  undisputed that Continuum employed Plaintiff and failed to pay Plaintiff overtime for hours

  worked in excess of 12 in a week, summary judgment should be entered against Continuum as to

  liability for Plaintiff’s 12-hour overtime claim.

         Continuum will not leave it there. It will likely assert that it is not covered by the Wage

  Order because of a Colorado Department of Labor and Employment (CDLE) opinion letter and

                                                      4
Case 1:16-cv-01804-PAB-NRN Document 99 Filed 11/19/18 USDC Colorado Page 5 of 8




  advisory opinion purporting to interpret the Wage Order as exempting Community Centered

  Boards and their service agencies.2 See Ex. 3, CDLE Opinion Letter; CDLE, Advisory Bulletin

  and           Resource             Guide              at         71,           available            at

  https://www.colorado.gov/pacific/sites/default/files/Advisory%20Bulletins.pdf. Both should be

  ignored as a matter of law, and the plain text of the Wage Order should be applied.

         As interpretations of the Wage Order, both the letter and the advisory bulletin are simply

  wrong and should be given no weight. See Rags Over the Arkansas River, Inc. v. Colo. Parks and

  Wildlife Bd., 360 P.3d 186, 192 (Colo. App. 2015) (“[W]e may reject an agency's interpretation of

  its regulations if the language of the regulation compels a different meaning. . . . Indeed, where a

  regulation plainly requires a different interpretation, ‘[t]o defer to the agency's position would be

  to permit the agency, under the guise of interpreting a regulation, to create de facto a new

  regulation.’” (quoting Christensen v. Harris Cnty., 529 U.S. 576, 588 (2000)). Under Colorado

  law, conclusory agency interpretations like these receive no deference. See Kennett v. Bayada

  Home Health Care, Inc., 135 F. Supp. 3d 1232, 1244 (D. Colo. 2015) (refusing to defer to a formal

  CDLE opinion letter because it was “conclusory, contrary to the plain meaning of the [Wage

  Order] and disclaimer-riddled . . . .”); see also Ward v. Allstate Ins. Co., 45 F.3d 353, 355-56 (10th

  Cir 1994) (Under Colorado state law, “[a]gency interpretation is not binding, and if an agency

  misconstrues a statute, the court should not follow.”); Arapahoe Cty. Public Airport Authority v.

  Centennial Express Airlines, Inc., 956 P.2d 587, 592-93 (Colo. 1998) (refusing to defer to a formal

  opinion letter because it was “brief”, contained no “analysis” and failed to cite any authority).



  2
   According to Continuum, Defendant Developmental Pathways is a Community Centered Board
  and it is “a direct care services organization.” See Ex. 1, Continuum 30(b)(6) at 9:22 to 10:9.
                                                    5
Case 1:16-cv-01804-PAB-NRN Document 99 Filed 11/19/18 USDC Colorado Page 6 of 8




         Moreover, if the letter is an attempt to create a standalone exemption from the Wage Order,

  it cannot stand. The CDLE lacks the authority to create exemptions to regulations through private

  correspondence without ensuring due process or following the notice and comment procedures

  detailed in the State Administrative Procedure Act (APA). The Colorado Constitution, which pro-

  vides that “[n]o person shall be deprived of life, liberty or property, without due process of law”,

  bars the CDLE from secretly creating exemptions to regulations without due process. Colo. Const.

  art. II, § 25; see U.S. Const. amend. XIV, § 1 (requiring same). That is, to the extent that the CDLE

  dramatically alters the rights of large numbers of employees through rule-making, it must comply

  with due process requirements, not simply send a letter to an employer to tuck away in its files.

  The APA provides certain specific procedures that ensure due process in rule-making. See Nat’l

  Camera, Inc. v. Sanchez, 832 P.2d 960, 964 (Colo. App. 1991) (“the broad, remedial purpose of

  administrative procedure acts is to provide comprehensively for due process in administrative pro-

  ceedings.”) (citing Wong Yang Sung v. McGrath, 339 U.S. 33, 70 (1950)); see also C.R.S. § 24-4-

  103 (requiring notice, comment, and publication for rulemaking).

         Finally, even if the letter somehow had legal effect as a standalone wage order when it was

  written, it has been superseded. 7 C.C.R. § 1103-1 (“This Wage Order shall supersede all previous

  Wage Orders.”).

                                       V.    CONCLUSION

         For the foregoing reasons, the motion should be granted and partial summary judgment as

  to liability should be entered against Continuum for Plaintiff’s 12-hour overtime claim.




                                                   6
Case 1:16-cv-01804-PAB-NRN Document 99 Filed 11/19/18 USDC Colorado Page 7 of 8




                                           Respectfully Submitted,

                                           s/Alexander Hood
                                           Alexander Hood
                                           Towards Justice
                                           1410 High Street, Suite 300
                                           Denver, CO 80218
                                           Tel.: 720-239-2606
                                           Fax: 303-957-2289
                                           Email: alex@towardsjustice.org

                                           Brian D. Gonzales
                                           The Law Offices of Brian D. Gonzales
                                           2580 E Harmony Road
                                           Suite 201
                                           Fort Collins, CO 80528
                                           Tel.: 970-214-0562
                                           Fax: 303-539-9812

                                           Attorneys for the Plaintiff




                                       7
Case 1:16-cv-01804-PAB-NRN Document 99 Filed 11/19/18 USDC Colorado Page 8 of 8




                                       Certificate of Service

         I hereby certify that on November 19, 2018 I filed a true and correct copy of the forgoing

  using this Court’s CM/ECF filing system, which served the forgoing on all parties that have

  appeared pursuant to Fed. R. Civ. P. 5.

                                                      s/Alexander Hood
                                                      Alexander Hood




                                                 8
